   Case 4:18-cv-00824-O Document 41 Filed 06/25/20                    Page 1 of 3 PageID 485




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  FT. WORTH DIVISION
                          _____________________________________


U.S. PASTOR COUNCIL, et al.,

     Plaintiffs,


                         v.                                      Case No. 4:18-cv-00824-O


EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION, et al.,

     Defendants.



              NOTICE REGARDING WITHDRAWAL OF ARGUMENTS
       Defendants previously moved to dismiss the plaintiffs’ first amended complaint for lack

of subject-matter jurisdiction (ECF Nos. 28, 29), and that motion is fully briefed and remains

pending.

       In light of intervening developments since the filing of that motion, including the

Supreme Court decision in Bostock v. Clayton County, Ga., --- S. Ct. ---, 2020 WL 3146686

(June 15, 2020), Defendants hereby withdraw the argument that Plaintiffs are “free to interpret

Title VII in a different lawful way than EEOC . . . a point underscored by the fact that . . . the

Department of Justice agrees with Plaintiffs' views of Title VII.” ECF No. 29 at 13-14.

Defendants also withdraw the argument that Plaintiffs' alleged injuries are not traceable to EEOC

because the interpretation of Title VII set forth in an EEOC “Brochure,” titled “Preventing

Employment Discrimination Against Lesbian, Gay, Bisexual, or Transgender Workers” is “only

interpretive in nature . . . particularly . . . where the Attorney General has explained that the plain

meaning of Title VII does not support the EEOC's interpretation.” ECF No. 29 at 18-19. The
   Case 4:18-cv-00824-O Document 41 Filed 06/25/20               Page 2 of 3 PageID 486




other arguments set forth in Defendants' renewed motion to dismiss remain fully briefed before

the Court and appropriate for the Court to address.



             Dated: June 25, 2020                                        Respectfully submitted,



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   Case 4:18-cv-00824-O Document 41 Filed 06/25/20              Page 3 of 3 PageID 487




                              CERTIFICATE OF SERVICE


    I certify that on June 25, 2020, I served this document through CM/ECF upon:


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